       Case 2:08-cr-00064-MCE Document 159 Filed 05/02/12 Page 1 of 2


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 4   Attorneys for Defendant
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 9                    IN THE DISTRICT COURT OF THE UNITED STATES

10                      FOR THE NORTHERN DISTRICT OF CALIFORNIA

11                                  SACRAMENTO DIVISION

12

13   UNITED STATES OF AMERICA,                       No. 2:08-CR-00064-MCE

14                 Plaintiff,                         STIPULATION AND ORDER TO
                                                      CONTINUE
15   vs.                                              STATUS CONFERENCE

16   CHI KEUNG HUI,

17                 Defendant.

18                                        /

19                 It is hereby stipulated by and between the parties of record that the status

20   conference in the above-referenced matter should be continued from May 3, 2012 to

21   May 31, 2012, at 9:00 a.m. It is further stipulated that there is good cause for said

22   continuance to accommodate conflicts arising from counsels’ personal and trial

23   schedules, for further consultation with immigration counsel, and for defense

24   preparation, research and continuity of counsel pursuant to 18 U.S.C. §§ 3161(h)(7)(A)

25   and (B)(iv) under Local Rule T4.

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      Case 2:08-cr-00064-MCE Document 159 Filed 05/02/12 Page 2 of 2


 1   Dated: April 30, 2012

 2

 3                                                    /s/ Ted W. Cassman
                                              TED W. CASSMAN,
 4                                            Attorney for Defendant
                                              CHI KEUNG HUI
 5

 6   Dated: April 30, 2012

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 8                                                      /s/ Michael Beckwith
                                              MICHAEL BECKWITH,
 9                                            Assistant United States Attorney

10

11                                           ORDER

12                For the reasons stated above, the status conference in this matter,

13   currently set for, May 3, 2012, is continued to May 31, 2012, at 9:00 a.m.; and the time

14   beginning May 3, 2012, and extending through May 31, 2012, is excluded from the

15   calculation of time under the Speedy Trial Act for effective defense preparation,

16   research and continuity of counsel. The Court finds that interests of justice served by

17   granting this continuance outweigh the best interests of the public and the defendants

18   in a speedy trial. 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv).

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      Dated: May 2, 2012
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                                              MORRISON C. ENGLAND, JR.
22                                            UNITED STATES DISTRICT JUDGE

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